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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

CHRIS WOODFIELD, ON BEHALF OF
HIMSELF AND ALL OTHERS SIMILARLY
SITUATED,
                                                   C.A. No. 23-cv-00780-CFC
                  Plaintiff,

       v.

TWITTER, INC., X CORP., X HOLDINGS I,
INC., X HOLDING CORP., and ELON
MUSK,

                  Defendants.


               MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached Certifications, counsel moves for the

admission pro hac vice of Eric Meckley, and T. Cullen Wallace of Morgan, Lewis & Bockius

LLP to represent Defendants Twitter, Inc., X Corp., X Holdings I, Inc., X Holding Corp., and

Elon Musk in the above-captioned action.

Dated: August 29, 2023                          MORGAN, LEWIS & BOCKIUS LLP


                                                 /s/ Jody C. Barillare
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                                                 Attorney for Defendants


       IT IS SO ORDERED this _____ day of ___________, 2023.




                                              The Honorable Colm F. Connolly
